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IN THE NORTHERN DISTRICT COURT OF ILLINOIS
Ensen | DIVISION

Terence Bruce Richards

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3 ) |
Plaintiff ) O g cv 63 10 ‘

Vs, ) Case Number 08 CV 6810 fmt

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United States of America; Department of ) District Judge $8 pe
Justice; County of Lake; City of Waukegan; ) David H. Coar Z & \
Federal Defender Prograrn; HSBC } a8 ~ 3
Technology & Services USA Inc.; Manual - } Magistrate Judge 8 or
Barbosa; James E. Stevens; Danie! ) Geraldine Soat Brown 22 Od
Kleinhubert; Detective Szuchnicki; Paul } 4 C0)
Flynn; Susan Hansen; and James Harrington ) ae

MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PLAINTIFF’S TERENCE BRUCE RICHARDS’S
RESPONSE TO JAMES HARRINGTON’S
MOTION TO DISMISS, PURSUANT TO FED. R. CIV, PROC. 12(b}(6)

|, Terence Bruce Richards, presents this Memorandum of Points and Authorities in
support of his response to defendant James Harrington’s MOTION TO DISMISS, pursuant to Fed.
R. Civ. Proc, 12(b}(6). This case Is similar to the Mathew Shepard case in the state of Wyoming

in 1998.

Mathew Wayne Shepard was a gay American student at the University

of Wyoming who was tortured and subsequently murdered near

Laramie. He was attacked on the night of October 6" — October 7", 1998
and died at Poudre Valley Hospital in Fort Collins Colorado, on October 42
1998, from severe head injuries. His murder brought national as well as
International attention to the issue of hate crime legislation at the state
and federal tevels.

Russel Arthur Hendersen plead guilty to felony murder and kidnapping,
allowing him to avoid the death penalty. Aaron James McKinney was
convicted of felony murder and kidnapping, Henderson is currently
serving two consecutive life sentences and McKinney is serving the same

 
 

 

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but without the possibility of parole.

The Attack
Shortly after midnight on October 7", 1998, 21-year old Shepard met

McKinney and Henderson in a bar. McKinney and Henderson offered
Shepard a ride In their car. Subsequently, Shepard was robbed, pistol
whipped, and tortured, tied to a fence in a remote, rural area, and
left to die.

 

In the instant case, defendant James Harrington’s son Donald James Harrington,
purporting to to a gay Individual, befriend, plaintiff, Terence Bruce Richards, purporting to be in
love with plaintiff, Terence Bruce Richards, with no Intentions, of the same. Plaintiff, Terence
Bruce Richards, suffering from hypopituitarism, low growth hormone, was Injecting exogenous
Humatrope (growth hormone), which increased his levels of oxytocin, a hormone, whlch allows
the individual to put trust into other individuals. The Northern Illinois Bankruptcy Court,
Bankruptcy Judge Manual Barbosa, was purporting to asslst, plaintiff, Terence Bruce Richards,
to recover his stolen property, but turned the tables, when he discovered, that plaintiff,
Terence Bruce Richards was gay (alleged bipolar individual). Bankruptcy Judge Manual Barbosa,
then vicious attacked, plaintiff, Terence Bruce Richards, stripping him of his property, and
bankruptcy discharge. He, then assisted, defendant Bankruptcy Trustee, James E. Stevens,
Public Defender Paul Flynn, Federal Bureau of Investigations, Susan Hansen, In kidnapping, and
torturing, Plaintiff Terence Bruce Richards. Defendant, James Harrington assisted, defendant

Septia} Agent Susan Hansen, in torturing, plaintiff, Terence Bruce Richards as follows:
 

 

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STATEMENT OF FACTS

On or about, April, 2002, plaintiff, Terence Bruce Richards, responded to Donald James
Harrington’s Modeling/Escort ad in the Gay Chicago magazine, whose office Is located at 3115
North Broadway, Chicago, Illinois 60625, telephone number 773-327-7271. On the first
meeting, with Donald James Harrington, we sat dawn and just made conversation. Discovering
each other’s backgrounds, educational Jevels, work experiences, so on and so forth. Donald
James Harrington alleged to be a student attending Carthage College located in Kenosha
Wisconsin, a school he never attended nor enrolled. Plaintiff, Terence Bruce Richards, was
seeking medical assistance, for endocrine failures of hypopitultarism, hypogonadism, and
hypopituitiarism, in which he was prescribed by Doctor Sophia Garcia Buder located at 2719
North Halsted Street, Chicago, Illinois 60614, the following medications: Synthroid 125
micrograms, 150 milligrams of Testosterone Enthanate, and .06 milligrams of Humatrope,
(Synthetic Recombinant DNA) growth hormone injections. The Humatrope, increased the
plaintiff's oxytocin levels, which was as described in Taber’s Medical dictionary, as being used In
females (which the plaintiff is not) reproduction. It is released In large amounts In after
distension of the cervix, and vagina during labor, and after stimulating of the nipples, facilating
birth, and breastfeeding, respectively. Recent studies have begun to Investigate oxytocin’s role
in various behaviors, including social recognition, bonding, anxiety, trust, and maternal
behaviors. This made plaintiff, Terence Bruce Richards, susceptible to the criminal actions, of
defendant James Harrington’s son, Donald James Harrington.

The second encounter, was in the summer of 2002, when, Donald James Harrington and

plaintiff, Terence Bruce Richards, met to attend a movie, located Gurnee Mills, located at 6170
 

 

 

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Grand Avenue, Gurnee Illinois 60031. After, this second encounter, Donald James Harrington
and plaintiff, Terence Bruce Richards did not see each other, until October 22" 2002, at which
time, Donald James Harrington and plaintiff, Terence Bruce Richards, met at the Dominick's
parking lot, located in McHenry, Illinois. Plaintiff, Terence Bruce Richards, drove his 2003,
Oldsmobile Alero, with Donald James Harrington following in his 2002, Chrysler PT Cruiser, |
through the town of Bull Valley, to 2408 Aspen Drive, Woodstock, Illinois 60098 (plaintiff
home). At which time, plaintiff, Terence Bruce Richards, went Inside to change cloths, to go to
the Sugar Shack, strip joint in Lake Geneva, Wisconsin. While, he was changing his cloths, third
party, Donald James Harrington, searched, pialntiff, Terence Bruce Richards, home, looking into
various cabinets, drawers, and filing cabinets. We arrived at the Sugar Schack, were upon third
party, Donald James Harrington, interrogated, plaintiff, Terence Bruce Richards, about his
retirement account, and, how, much money, could be extracted from the account, to assist
Donald James Harrington, in attending Carthage College, a school he never attended nor
enrolled. This ritual, went on day after day, in successive days, during the month of October,
and November 2002, on some occasions, after returning, to the town of Mc Henry, Donald
James Harrington, and plaintiff, Terence Bruce Richards, would sit In one of the two vehicles,
discussing the possibility of lending Donald James Harrington money for various needs he
possessed, Plaintiff, Terence Bruce Richards, while on the medication Humatrope, and the
unconditional stimulus of AIDS, and the unconditional response death, coupled with the
conditional stimulus of Donald James Harrington having homosexual encounters, with strange
men, who could be infected with the AIDS virus, and not caring, whether Donald James

Harrington lived or died, because, the fulfllied thelr side of the bargain, Donald James
 

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Harrington recelved payment for services rendered, and the AIDS virus, is only an occupational

hazard.

 

Donald James Harrington, and olaintif Terence Bruce Richards, went to Circuit City, on
or about November 10", 2002, whereupon Donald James Harrington saw a automobile stereo
system, with a special flip down front, and special LED front face, which cost, $1,000.00 dollars,
and the normal radios, at the time, cost about $200-$400,00 dollars. Donald James Harrington
informed, plaintiff, Terence Bruce Richards, that Donald James Harrington’s birthday will be on
November 15", 2002, at which time he would be turning 23. He also, Informed, plaintiff,
Terence Bruce Richards, that he father, may be attending a gay bar, with Donald James
Harrington and plaintiff, Terence Bruce Richards. Plaintiff, Terence Bruce Richards, was
concerned, that Donald James Harrington, may not be living at his parents home, at 901 Corona
Street, Round Lake Beach, Ilinois, at he was purporting, so the day, that plaintiff, Terence Bruce
Richards, purchased this automobile stereo, that Donald James Harrington, was in love with,
third party, Donald James Harrington, informed plalntiff, Terence Bruce Richards, to meet him
at his parents house, while Donald James Harrington, was sitting In his automobile, on the
driveway, when plantiff, Terence Bruce Richards arrived. Both Plaintiff, Terence Bruce Richards,
and Donald James Harrington, went into the home, whereupon, his mother asked her son,
Donald James Harrington, if he would like some homemade chocolate chip cookies, she just got
done baking, that he likes, her cooking, when he comes home on Balicious. This triggered,
plaintiff, Terence Bruce Richards, to request, Donald James Harrington, as to his living here at
this location, suspecting something is not correct about Donald James Harrington’s assertions.

Donald James Harrington’s response, was that his mother was nutty and delusional.
 

 

 

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This brought, plaintiff, Terence Bruce Richards, Into looking into the possibility, that
Donald James Harrington lived at another address, which plaintiff was able to decipher, based
on the pieces of information, that Donald James Harrington provided. Which was the address of

19 North Jackson Street, Waukgan, Illinois 60085. Upon questioning, Donald James Harrington,

 

about this address, he informed, plaintiff, Terence Bruce Richards, to meet him at the Denny’s
Restaurant, located in Gurnee, Illinois 60031 address, whereupon, Donald James Harrington,
informed plaintiff, Terence Bruce Richards, that he, Donald James Harrington, was living with a
friend by the name of Kevin. Meanwhile, he, plaintiff, Terence Bruce Richards, started, to
question, one of the strippers, at the Sugar Schack, because, Donald James Harrington, was
pretending to be in love with her. All three of us, Donald James Harrington, plaintiff, Terence
Bruce Richards, and this stripper, which in hindslght, was attempting to have a one night stand
with, met at the all night diner, in Lake Geneva, Wisconsin. She informed, plaintiff, Terence
Bruce Richards, that, Donald James Harrington, Is not all that he pretends to be.

Donaid James Harrington, on about, February, 2003, requested, plaintiff, Terence Bruce
Richards, to met him at the IsKalis American Floor Show, 4437 Old Grand Avenue, Gurnee,
Illinios 60031, whereupon, Donald James Harrington, meets, with a salesperson, he was
working with, in selecting carpeting for a mobile hame, Plaintiff, Terence Bruce Richards, third
party, Donald James Harrington, the sales person, went to the mobile home, to take
measurements, and the sales person Informed Donald James Harrington, that the baby would
like the room, he would be placed in. Unbeknownst, to, plaintiff, Terence Bruce Richards,
plaintiff, Terence Bruce Richards, attempted to investigate, what baby? Plaintiff, Terence Bruce

Richards, was under the impression, that he would be moving into the mobile home with
 

 

 

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Donald James Harrington. During, the month of February, and March, 2003, plaintiff, Terence
Bruce Richards, and Donald James Harrington, made arrangements in preparing the mobile
home for living quarters. On or about, March 14” 2003, plalntiff, Terence Bruce Richards, was
forced into filing bankruptcy. During, the preliminary segment, of Plaintiff, Terence Bruce
Richards, bankruptcy proceedings, plaintiff, Terence Bruce Richards, prepared to withdraw, a
hardship withdrawal from his 401(k) account at his employer, Household international. Plaintiff,
Terence Bruce Richards, received the $45,662.13 dollar check on April 29", 2003, and was going
to deposit the check into a savings account at Harris Bank — Woodstock located at 101 South
Benton Street #100, Woodstock, Illinois 60098, Plaintiff, Terence Bruce Richards, was there for
an hour and half, speaking to his friends, the branch manager Thomas Stronner, while Donald.
James Harrington kept calling plaintiff, Terence Bruce Richards on the phone, harassing him to
place the funds, into his account at National City bank, Plalntiff, Terence Bruce Richards, friend
Thomas Stronner, branch manager at Harris Bank Woodstock, whom, plaintiff, Terence Bruce
Richards, one day, would not sign a loan from the bank, until the fix their paperwork, because
the loan contract, stated upon repaying the loan for $2,000.00 dollars, the bank would pay,
plaintiff, Terence Bruce Richards $2,000,000,.00 dollars for taking out the Joan, the loan
documents were incorrect, and none caught thelr error, on their end, untll, It was presented to
plaintiff, Terence Bruce Richards, who had to come back the next day, to sign the correct
papers, and receive his funds,

On or about, May 6", 2003, plaintiff, Terence Bruce Richards, went to the home of
Donald James Harrington, parents, to request, the whereabouts, about Donald James

Harrington, apparently, the weekend before, he had a disagreement with his wife, and moved
 

 

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out of the home at 19 North Jackson Street, Waukegan, Illinois, 60085, and at the time, was
living with his parents at 901 Corona Street, Round Lake Beach, Illinios 60074. His father,
requested from Terence Bruce Richards, what is the disposition, about $45,662.13 dollars, that
the found on a bank receipt, in their son’s pants pocket. Plaintiff, Terence Bruce Richards,
informed them, that Donald James Harrington, was purporting to be a law student attending
Carthage College in Kenosha Wisconsin, and plaintiff, Terence Bruce Richards, was attempting
to determine, whether the money he borrowed third party Donald James Harrington on

November __, 2002, January ant 2003, and February 14, 2003, was legitimate. Plaintiff,

 

Terence Bruce Richards, took out the $45,662.13 dollars to purchase himself a mobile home, to
live in, when he was in the process of losing his home at 2408 Aspen Drive, Woodstock, ilinios
60098. Due to the ambiguity, from their son’s deceptive practices, there was a break down in
communicatioin, between the parents, and plaintiff, Terence Bruce Richards. His father, getting
angry at his son, impulsively, drove his father need, to go to the Waukegan Police Department,
with plaintiff, Terence Bruce Richards, to report his son’s criminal actions. Plaintiff, Terence
Bruce Richards, wanted to investigate the situation, and find out personal knowledge, from
Donald James Harrington, as to the truth of the matter. Plaintiff, Terence Bruce Richards,
refused to file the police report that night. The Waukegan Police Department would have been
the wrong jurisdiction to file the police report, the theft occurred in Gurnee Illinols. | agreed,
with James Harrington, to meet him, the next day, at 7:00 p.m. at their home, to sit down and
communicate with their son, Donald James Harrington, upon, the plaintiff's arrival, going into
the home, with his father, at the same time, after, James Harrlngton, finished work, and

working out the Balley’s Health Club, went into the home, to sit down with Donald James
 

 

 

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Harrington. After, Terence Bruce Richards, appearance, become apparent, to Donald James
Harrington, he went out to his 2002 PT Cruiser, sat in the car for fifteen minutes, before leaving
the scene. Plaintiff, Terence Bruce Richards, agreed to met with his father, the next day, at the
Olive Garden located at 5590 Northridge Drive, Gurnee, Illinois 60031, while we attempted to
sit down with Donald James Harrington at the restaurant, to see if we could work the issues
out. Donald James Harrington, meanwhile, refused to come to the restaurant, and removed the
remaining $29,000.00 dollars from the bank. James Harrington informed, plaintiff; Terence
Bruce Richards, that he, James Harrington did not sleep, at all the night before. James
Harrington, plaintiff, Terence Bruce Richards, and third party Eric, went to the Waukegan Police
Department, to fill out a police complaint. Plaintiff, Terence Bruce Richards, refused again to fill
out a police complaint, and left the premises. By, Friday, May 9", 2003, Plaintiff, Terence Bruce
Richards, was able to sit down and discuss the return of the property with Donald James
Harrington, however, Donald James Harrington, led, plaintiff, Terence Bruce Richards, to the
home at 19 North Jackson Street, Waukegan, Illinois 60085, whereupon, Donald James
Harrington, and his wife, Lourdes Harrington, went Into the home to contact the police
department, that plaintiff, Terence Bruce Richards was trespassing. Before, the police arrived,
plaintiff, Terence Bruce Richards, left the scene, to met with the police officers at thelr police
station located at Waukegan Police Department. The next day, plaintiff, Terence Bruce
Richards, met with Office Morris of the Gurnee Police Department, and once, again, before
signing the police report, with Donald James Harrington’s parents, at 902 Corona Street. Both,
plaintiff Terence Bruce Richards, and James Harrington filled out witness statements agalnst

Donald James Harrington. Donald James Harrington was arrested on July 23h 2003, and
 

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indicted on September 3”, 2003. Meanwhile, plaintiff, Terence Bruce Richards, had
communication with James Harrington, informing him, that he was concerned about, James
Harrington going Into prison, plaintiff, Terence Bruce Richards, could not act Haliciously and
sadistically, with the intent to inflict harm upon another individual. But, he hired, his friend Jack
W. Rosen, to coach him through the process. Meanwhile, plaintiff, Terence Bruce Richards,
attempted to correct the police report with defendant Daniel Klienhubert, who would not have
communication with plaintiff, Terence Bruce Richards. Plaintiff, Terence Bruce Richards, had
ambiguous information from Donald James Harrington, was attempting to sort out the who
time period, he was in contact with Donald James Harrington. On or about, March, 2006,
plaintiff, Terence Bruce Richards, was exercising his First Amendment Constitutional rights,
whereupon, without any personal knowledge James Harrington had one phane call, on or
about, March 30", 2006 (between FBI agent Hansen and James Harrington) wherein Special
Agent Hansen requested any information Harrington could provide to arrest plaintiff Terence
Bruce Richards, without probable cause or any reasonable grounds that a crime had been
committed, Harrington provided a phone number Richards called James Harrington from
(Defendant’s Motion to Dismiss 9 2) James Harrington has never met defendant Hansen

(Defendant’s Motion to Dismiss 4] 2}.
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LEGAL ANALYSIS

Generally

The Civil Rights act (42 U.S.C. §1983) gives right of action against person, who,
under color of state law, custom, or usage, subjects another to deprivation of any rights,
privileges, or immunities secured by federal constitution has several purposes.

| 1) It overrides certain kinds of state laws
2) {t provides remedy where state law Is inadequate
3) It provides federal remedy where state remedy, though adequate in theory,
Is not avallable in practice.

Monroe Vs. Pape 365 U.S. 167

In the instant action, plaintiff, Terence Bruce Richards, is bringing Biven’s Claim
(analogues to a Title 42 U.S.C, §983 claim) against several federal officials for the hate crime
actions involving plaintiff, Terence Bruce Richards. Defendant James Harrington, Is one of the
actors who conspired with special agent Susan Hansen to deprive plaintiff, Terence Bruce of his
constitutional rights, (See Defendant's Motion to Dismiss 4] 1(a), (b), (c), (d), {e), {f)), under the
state law of Hate crime (See Defendant’s Motion to Dismiss ]1(g)). Section 1983 basically seeks
to (1) deter state action from using badge of their authority to deprive individuals of their
federally guaranteed rights and (2) provide related relief. Richardson Vs. McKnight 521 U5,
399, 42 U.S.C. §1983 was partly aimed at constitutional deprivations through abuse and nonuse

of authority by state officials. Miller Vs. Carson 563 F.2d 757.

 
 

 

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The United States Supreme Court found an implied damages remedy for viclation of
Constitutional rights by federal agents through the use of Biven’s type action, In Biven’s vs. Six
Unknown Agents of the Federal Bureau of Narcotics 403 U.S. 388 (1971). This is analogous to a

Title 42 U.S.C. §1983 action against state actors, under color of state law.

Elements

Two elements are necessary for recovery under a Biven’s action (Title 42 U.S.C, §1983).
Plaintiff, Terence Bruce Richards must prove that defendant(s) has deprived him of rights
secured by “Constitution and Laws” of the United States, and that defendant(s) deprived him of
those constitutional rights “under color of any statute, ordinance, regulation, custom, or usage,
of any state or territory, this second element requires that plaintiff, Terence Bruce Richards
show that defendant(s) acted “under color of law” Adickes Vs. 5H. Kress & Co. 398 U.S. 144. As
defendant James Harrington stated in paragraphs 1(a), (b), (c), (d)}, (e), and (f), that the
complaint alleges that defendant James Harrington deprived plaintiff, Terence Bruce Richards,
of rights secured by the United States Constitution, under the Illinois Hate Crime statute
(paragraph 1(g)), with a federal actor Federa} Bureau of Investigations special agent Susan
Hansen, while she was acting in her official capacity as a law enforcement official (Defendant’s
Motion to Dismiss 4 6).

42 U.S.C. §1983 Imposes liability for violations of rights protected by the Federal
Constitution, not for violations of duties of care arising out of tort law; remedy for the latter
type of injury must be sought in state court under traditional tort-law principles. Baker vs. Mc

Cullan 443 U.S. 137

 
 

 

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Purpose

Purpose of the Civil Rights statute (42 U.S.C. §1983, and it’s federal counterpart Biven’s
action) authorizing actions at law, sult In equity, or other proper proceedings, for redress of -
deprivations under color of state law, of rights secured by federal constitution and federal laws,
is to interpose federal courts between states and people, by guardians of people’s federal
rights, and thus to protect people fram unconstitutional actions under color of state law,
whether that action be executive, legislative, or judicial, in carrying out this purpose, Congress,
has expressly authorizing suit in equity as one of the means of redress, and plainly authorized
federal courts to issue Injunctions In 1983 actlons. Mitchum Vs. Foster 407 U.S. 225 (1973).

Title 42 U.S.C, §1983 which authorizes redress for violations of constitutional and
statutory rights, is not itself a source of substantive rights, but rather a method for vindicating
federal rights elsewhere conferred by those parts of the United States Constitution and federal

statutes that it describes. Boker Vs. Mc Cullan 443 U.S, 137,

Conspiracy
Under Title 42 U.S.C. §1983 conspiracy can furnish the conceptual spring for imputing
liability from one to another. A conspiracy may also be used to furnish the requisite state
action. .. yet It remains necessary to prove an actual deprivation of a constitutional right, a
conspiracy to deprive Is Insufficient. .. Here, in the instant case, as defendant James Harrington
mentioned in his Motion to Dismiss on 4] 1(c) Richards alleges that Harrington together with
other defendants Hansen, Flynn, Stevens, Barbosa, and District Judge Reinhard, denied Richards

of his liberty from being treated with cruel and unusual disproportionate punishment which
 

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was outside the federal sentencing guidelines without an opportunity for a notice and hearing
(fair trial}, See Complaint PP 318. In the instant case, contacting federal Special Agent Susan
Hansen to assist in plaintiff's arrest, without knowing whether plaintiff Terence Bruce Richards
may have been exercising his First Amendment Constitutional right to Freedom of Speech and
Expression, without having any personal knowledge is an actual deprivation of a Constitutional
right, secured by the United States Constitution. Specifically, no specific intent to deprive a
person of federal right is necessary to create llabllity under Title 42 U.S.C. §1983, which gives
right of action against person who under color of state law, custom, usage, subjects another to
deprivation of any rights, privileges, or Immunities secured by federal constitution. Monroe Vs.
Pape 365 U.S, 167.
Conspiracy Generally

A civil conspiracy is a combination of two or more persons by concerted action to
accomplish some criminal or unlawful! purpose, or to accomplish some purpose not In itself
criminal or unlawful by criminal or unlawful means, to the Injury of another. Davenport Vs.
North Carolina Dept. of Transportation 3 F.3d 89 (4" cir. 1993) (citing North Carolina law). in
the instant case, defendant James Harrington, states In Motion to Dismiss 4] 2, James
Harrington has never met any of the above named defendants Flynn, Stevens, or Barbosa. With
the exception of one phone call, on or about, March 30°" 2006(between FBI agent Hansen and
James Harrington) wherein Hansen requested any information Harrington could provide to aid
the FBI in locating Richards, and wherein Harrington provided a phone number Richards called
Harrington from, Harrington has never met defendant Hansen. In addition, defendant, James .

Harrington states in Motion to Dismiss in 4] 1(g) Richards alleges that Harrington, together with

 

 
 

 

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other defendant(s) Hansen, Flynn, Stevens, and Barbosa committed an act of Hate Crime. See
Complaint PP 347, To do the unlawful act of placing plaintiff, Terence Bruce Richards In the
apprehension of bodily harm, whereupon bodily harm occurred.
Conspiracy Elements

A civil conspiracy requires an object to be accomplished, meeting of the minds on the
object or course of action, on or more overt acts, and damages, as the proximate result,
thereof. As stated in 12 of Defendant’s Motion to Dismiss, defendant James Harrington had a
meeting of the minds with FBI special agent, Susan Hansen, specifically, “with the exception of
one phone call, on or about March 30", 2006 (between FBI agent Hansen and James
Harrington), wherein Hansen requested any Information Harrington could provide to aid the FBI
in locating Richards, and wherein Harrington provided a phone number Richards called
Harrington from, Harrington has never met defendant Hansen, and 4] 6 Moreover, Richards,
clalms against Harrington are bared[sic] since the allegations Richards makes against Harrington
all stem from Harrington’s cooperation with FB! Agent Hansen, during her phone call, on or
about 30 March, 2006, while she was acting in her official capacity as a Law Enforcement
Official, and while Harrington was co-operating with Law Enforcment, which was his legal and
civic obligation to do. The overt act, was the deprivation of the constitutional rights of plaintiff,
Terence Richards, ¥} 1(c), Richards alleges that Harrington, together with other defendant(s)
Hansen, Flynn, Stevens, Barbosa, and District judge Reinhard, denied Richards of his liberty
from being treated with cruet and unusual disproportionate punishment which was outside the
federal sentencing guidelines without an opportunity for a notice or hearing (fair trial} See

Complaint PP 318.

 
 

 

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Overt Act

Since damages must be shown in a civil action, based on a conspiracy, no cause of action
can exists in the absence of an overt act, tortuous, or unlawful act committed in the
furtherance of the conspiracy. In the case at bar, the overt act, was placing, plaintiff, Terence
Bruce Richards, in the apprehension of bodily harm, and whereupon bodily harm occurred.

Damages

The gist of a civil conspiracy is not the unlawful agreement, but the damages resulting
from the agreement or its execution. The cause of action is not created by the conspiracy, but
by the wrongful acts, done. The damages in the Instant case, was the beatings, battering,
abuse, and sexual assault, that plaintiff, Terence Bruce Richards, sustained for exercising his
constitutional rights.

Persons Liable

A civil conspiracy requires the combination of at least two persons, tort liabllity arising
from the conspiracy presupposes that the coconspirator is legally capable of committing a tort,
in the he or she owes a duty recognized by law to the plaintiff, and Is potentially subject to
liability for breach of that that duty. In the present case, Defendant James Harrington, may
have legal and civic obligation to co-operate with the police, but as stated below in the qualified
immunity section (see infra.), he also has a legal obligation, to act with some credible and

reliable information, when there is no arrest warrant pending for the plaintiffs arrest.

 
 

 

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Nature and Extent of Ligbili

A civil conspiracy claim operates to extend beyond the sitive wrongdoer, liability In tort
extends to actors who have merely assisted, encouraged, or planned the wrongdoer’s acts.
Each act done in pursuance of the conspiracy by one or several conspirators ls, in
contemplation of law, an act for which each is jointly and severally liable. In James Harrington’s
Motion to Dismiss, 1] 5, James Harrington states “Richards claims against Harrington lack
credibility in that they fall to state any activity, action, or deed that Harrington actually
committed or participated in that In any way were directed at or agalnst Richards at any time
whatsoever”.

The joint and several liability of a conspirator applies to damages accruing prior to his or
her joining the conspiracy as well as damages thereafter, resulting - regardless of whether he
or she took a prominent or an inconspicuous part in the execution of the conspiracy.
Examining, James Harrington’s last §j 7, fails, as he claims, “Finally, each and every one of
Richards claims are barred because they are all missing one or more required elements of a
claim”.

ualifie nit

In the case cited as Butler Vs. Goldblatt Bros. Inc. 589 F.2d 323 (7"" Cir. 1978), law
enforcement officers may not avoid liability under Title 42 U.S.C. §1983 for false arrest where
they had no firsthand knowledge of any facts to support belief that arrestee’s threatened
security officer, but acted solely on information from Informant with which they had no prior
experience, Butler Vs, Goldblatt Bros. inc, 589 F.2d 323 (7 Cir. 1978). In the case at bar, James

Harrington claims in his motion to dismiss, in | 3 James Harrington has never corresponded

 
 

 

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with, talked with, met, or in any other way had any contact with the above named defendants
of any kind or at any time (other than the above referenced single shone call with Hansen).
James Harrington further has no personal knowledge of the case against Richards, its outcome,
or the parties, events, activities, legal proceedings, or the motives and the efforts of any person
involved. James Harrington continues, into | 4 James Harrington further has only limited
knowledge of Plaintiff Richards through Plaintiff Richards relationship with Harrington’s son.
Harrington has no personal knowledge of Plaintiff Richards's personal affairs, business, legal

affairs, or any other activities, information, or dealings or any sort or type.

 

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